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                  UNITED STATES BANKRUPTCY APPELLATE PANEL
                                   OF THE TENTH CIRCUIT
                             _________________________________

  In re MESA OIL, INC., dba MESA                                  BAP No. CO-18-014
  ENVIRONMENTAL,

               Debtor.

  __________________________________                              Bankr. No. 17-14004
                                                                      Chapter 11
  MESA OIL, INC., dba MESA
  ENVIRONMENTAL,

                Appellant,

  v.                                                        ORDER DISMISSING APPEAL

  PENINSULA HOLDINGS, LLC,

                Appellee.
                             _________________________________

 Before Chief Judge, NUGENT, MICHAEL, and SOMERS, Bankruptcy Judges.
                         _________________________________

        The matter before the Court is the Joint Motion to Vacate Oral Argument and Voluntarily

 Dismiss Appeal filed by the parties on November 5, 2018 [BAP ECF No. 34] (the “Voluntary

 Dismissal Agreement”). The Voluntary Dismissal Agreement is signed by both parties and

 specifies how costs are to be paid. Fed. R. Bankr. P. 8023. Accordingly, it is hereby ordered that:

        1. The appeal is DISMISSED;

        2. The mandate shall issue without delay.

                                                      For the Panel



                                                      Blaine F. Bates
                                                      Clerk of Court
